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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.

  Sylvia Love, individually,

         Plaintiff,

  v.

  Kaiser Permanente Insurance Co., a California nonprofit corporation,

         Defendant.



                               COMPLAINT WITH JURY DEMAND



         COMES NOW, the Plaintiff, Sylvia Love, by and through her attorneys, Thomas H.

  Mitchiner, Mitchiner Law, LLC, and Steven L. Murray, Murray Law, LLC, submits her Complaint

  with Jury Demand against Kaiser Permanente Insurance Co., and states and alleges as follows:

                                         Nature of the Case

         This is an employment discrimination case arising from the racially discriminatory

  treatment of Sylvia Love by her employer, Kaiser Permanente Insurance Co. The discriminatory

  practices, based on race, include but are not limited to discriminating against Love concerning the

  terms and conditions of her employment, evaluation of performance, assignment of duties, and

  termination of employment. The discriminatory actions violated the Civil Rights Act of 1866, 42

  U.S.C. § 1981, as amended by the Civil Rights Act of 1991 (Section 1981); and Title VII of the

  Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et seq., as amended (Title VII).
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                                       Jurisdiction and Venue

         1.      Jurisdiction is asserted pursuant to 28 U.S.C. Sections §§ 1331, 1343 (a) (3) (4),

  1367, 42 U.S.C. § 1981, 42 U.S.C. §§ 1988 (a) (b) (c), and 42 U.S.C. §§ 2000e-5(f) (1), (3), as

  amended by 42 U.S.C. §§ 1981a (a) (1), (2).

         2.      This action is authorized and instituted pursuant to Title VII, and Section 1981.

         3.      The claims in issue arose in the City of Englewood in Arapahoe County, Colorado.

  All claims arose in the Judicial District of this Court. Venue is proper in this Court pursuant to 28

  U.S.C. § 1391(b) (c), 42 U.S.C. § 2000e-5(f) (3), 42 U.S.C. § 1981, and 42 U.S.C. § 1988(a).

                                                Parties

         4.      Plaintiff, Sylvia Love (Love), is a resident of the City of Aurora, Arapahoe County,

  State of Colorado.

         5.      Defendant, Kaiser Permanente Insurance Co. (Kaiser), is a California corporation

  with its principal place of business in California at 300 Lakeside Drive Oakland, CA 94612.

         6.      Love is an employee under Title VII, and Section 1981.

         7.      Kaiser is an employer under Title VII, and Section 1981.

                                     Administrative Procedures

         8. Prior to filing this action, Love timely, properly, and lawfully exhausted all required

  administrative prerequisites procedures and remedies.

         9.      Love filed a charge of race discrimination against Kaiser with the Equal

  Employment Opportunity Commission (EEOC) in February of 2017. [EEOC Charge No. 541-

  2017-00961].




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          10.     On March 15, 2018 the EEOC mailed, and Love received a “Notice of Right to

  Sue” for EEOC Charge No. 541-2017-00961, which entitles her to initiate this action within 90

  days of the mailing of said notice.

          11.     Love has satisfied all private, administrative, and judicial prerequisites to the

  institution of this action.

                                              Background

          12.     Kaiser is a California nonprofit corporation.

          13.     Kaiser is one of the nation’s largest not-for-profit health plans, serving 11.8 million

  members, with headquarters in Oakland, CA.

          14.     All references to Kaiser herein, includes the Kaiser Foundation Hospitals and its

  subsidiaries, Kaiser Foundation Health Plan, Inc., and The Permanente Medical Groups.

          15.     In 2017, Kaiser had an annual operating revenue of $72.7 billion.

          16.     Kaiser has approximately 213,087 employees and operates in eight states.

          17.     Love is a Black woman, over 40 years of age.

          18.     Kaiser treated Love in a racially discriminatory manner. Kaiser treated Love more

  adversely than similarly situated white employees, concerning the terms and conditions of her

  employment, demotions, evaluation of performance, assignment of duties, and termination of

  employment.

                                          General Allegations

          19.     Love began working for Kaiser in January 2015 as a Claims Processor II.

          20.     On January 20, 2017, Kaiser terminated Love.




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         21.     Love most recently held the title of Benefit Engine Architect in the Benefits Data

  Management Department (BDM).

         22.     Throughout Love’s employment, she performed her duties in a satisfactory manner

  in many positions.

         23.     In August of 2015, Kaiser promoted Love to Configuration Analyst II in the

  Configuration Department.

         24.     On or about February 29, 2016, Kaiser merged the Configuration Department with

  the BDM.

         25.     Out of seven employees, Love was the only Black employee in BDM.

         26.     On February 29, 2016 Kaiser: (a) changed Love’s job title changed from

  Configuration Analyst II to Benefit Engine Architect; and (b) assigned Love to work with a new

  supervisor and manager.

         27.     In March 2016, Kaiser hired Warren White (White), a White male, to supervise the

  BDM department.

         28.     White immediately began to demean and degrade Love.

         29.     White did not like how Love communicated with her coworkers and criticized her

  for her manner of speech, telling Love that she did not “talk well” and that she needed to improve

  her grammar.

         30.     Without Love’s knowledge White placed Love on a Performance Improvement

  Plan (PIP).

         31.     Kaiser and White did not: (a) present the PIP to Love; and (b) did not provide any

  guidance to Love concerning her progress on the PIP.



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         32.     Because of the conduct by Kaiser and White, Love neither read nor signed the PIP.

         33.     Because Kaiser and White did not provide Love the opportunity to read or sign the

  PIP, Kaiser and White prevented Love from obtaining knowledge of the PIP’s existence and the

  potential negative and harmful consequences for not complying with the PIP.

         34.     Since Love did not know of the existence of the PIP, she did not know the alleged

  performance deficiencies the PIP addressed and therefore, she could not successfully complete the

  PIP.

         35.     Love first learned about the PIP in October of 2016 when Gail Metcliff (Metcliff)

  a manager of a different department at Kaiser asked Love to apply for an open position with her.

         36.     Metcliff informed Love that although she would like to hire Love in her department;

  however, Love could not be hired because Love was on a PIP.

         37.     Following Kaiser’s failure to hire Love in the different department, Love enquired

  about the PIP however to the date of the filing of this complaint she still has not ever seen the PIP.

         38.      Toward the end of 2016 and in the beginning of 2017, the BDM department

  participated in team building exercises.

         39.     Love participated in every event and completed all the exercises but could not

  attend the final meeting.

         40.     In the final meeting, all the BDM employees meet with each other and created a

  chart describing their different communication styles.

         41.     Although Kaiser and manager White had all of Love’s information and could have

  included her on the chart, Kaiser and White intentionally left her name off the chart.




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         42.     On January 20, 2017, at the end of Love’s shift, Kaiser informed Love that: (a) she

  did not improve on the performance in the PIP; and (b) Kaiser was terminating her employment.

         43.     As a direct, foreseeable, and proximate result of the intentional unlawful conduct

  complained of herein, Love suffered injuries, damages and other losses.

         44.     Love’s damages include emotional pain, suffering, inconvenience, mental anguish,

  loss of enjoyment of life, and the loss of wages, earnings, income, diminution of earning capacity,

  actual and/or potential retirement benefits, loss of employment, future pecuniary losses, and other

  damages to be determined at trial.

                                       First Claim for Relief
                          (Race Discrimination – Section 42 U.S.C. § 1981)

         45.     The foregoing allegations are realleged and incorporated by reference.

         46.     Kaiser discriminated against Love because of her race.

         47.     Kaiser discriminated against Love because of her race: (a) compensation, terms,

  conditions, and/or privileges of employment; and/or (b) by limiting, segregating, and/or classifying

  Love in a way which deprived, or tended to deprive Love of employment opportunities, and/or

  otherwise adversely affect her status as an employee because of her race.

         48.     By the conduct described above, Kaiser intentionally deprived Love, a Black

  female, of the same rights and working conditions enjoyed by Kaiser’s white employees, in the

  performance, enjoyment, continuation, and all the benefits and privileges of her employment

  relationship with Kaiser, in violation of 42 U.S.C. § 1981.




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         49.     Kaiser treated Love, a Black female, more adversely than white employees because

  of her race, concerning the terms and conditions of employment, assignment of duties,

  performance evaluations, performance improvement plans, demotion, and termination of

  employment.

         50.     Kaiser engaged in direct, continual, increasing, and intentional racial discrimination

  in taking adverse unlawful employment practices against Love because of her race.

         51.     In its discriminatory actions as alleged above, Kaiser acted willfully, with malice

  or reckless indifference to the rights of Love to be free from racial discrimination in employment,

  thereby entitling her to an award of punitive damages.

                                       Second Claim for Relief
                          (Race Discrimination – Title VII, 42 U.S.C. § 2000e et. al.)

         52.     The foregoing allegations are realleged and incorporated by reference.

         53.     Kaiser discriminated against Love because of her race.

         54.     Kaiser discriminated against Love because of her race: (a) with respect to her

  compensation, terms, conditions, or privileges of employment; and/or (b) by limiting, segregating,

  or classifying Love in a way which deprived, or tended to deprive, Love of employment

  opportunities, or otherwise adversely affect her status as an employee, because of her race.

         55.     Kaiser treatment of Love constitutes intentional, unlawful race discrimination, in

  violation of 42 U.S.C. § 2000e-2(a) (1) (2), and intentional, unlawful discriminatory practices in

  violation of 42 U.S.C. §§ 1981a (a) (1), (b) (1) (2) (3) (D), and (d) (1) (2).

         56.     Kaiser treated Love, a Black female, more adversely than white employees because

  of her race, concerning the terms and conditions of employment, assignment of duties,




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  performance evaluations, performance improvement plans, demotion, and termination of

  employment.

         57.     Kaiser engaged in direct, continual, increasing, and intentional racial discrimination

  in taking adverse unlawful employment practices against Love.

         58.     In its discriminatory actions as alleged above, Kaiser acted willfully, with malice

  or reckless indifference to the rights of Love to be free from racial discrimination in employment,

  thereby entitling her to an award of punitive damages.

                                      Demand for Judgement

         WHEREFORE, Plaintiff, Sylvia Love, respectfully prays for a judgment to be entered

  against Kaiser Permanente Insurance Co., as follows:

     A. Against Kaiser for back pay, loss of benefits, and all economic benefits associated with

         Love’s employment, under Title VII, and 42 U.S.C. § 1981 as allowed by law;

     B. Against Kaiser for front pay under Title VII, and 42 U.S.C. § 1981 as allowed by law;

     C. Against Kaiser for compensatory damages available to Love under Title VII, and 42 U.S.C.

         § 1981, as allowed by law;

     D. Against Kaiser for punitive damages available to Love under Title VII, and 42 U.S.C. §

         1981, as allowed by law;

     E. Against Kaiser for attorney fees and costs available to Love under Title VII, 42 U.S.C. §

         1981, and 42 U.S.C. Section 1988 (b)(c), as allowed by law;

     F. Costs, as allowed by law; and

     G. To award Love and all other legal and equitable relief, to which Love is entitled pursuant

         to any law, that this Court deems just, equitable, and proper.



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                                      JURY TRIAL REQUEST

         Pursuant to Fed.R.Civ.P. 38 (a) (b) (c), Title VII 42 U.S.C. § 1981a (c) (1), and 42 U.S.C.

  § 1981, and all applicable laws providing for a right to trial by jury, Love seeks a jury trial of all

  claims and issues in this action.

  Respectfully submitted this 11 June 2018.

           Mitchiner Law, LLC                                   Murray Law, LLC
   By:                                                   By:
           /s/ Thomas H. Mitchiner                              /s/ Steven Murray
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